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 HB Productions, Inc.

                            UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAII

  HB Productions, Inc.,                          )   Case No.: 1:19-cv-389-ACK-KJM
                                                 )   (Copyright)
                         Plaintiff,              )
       vs.                                       )   MEMORANDUM IN SUPPORT
                                                 )   OF MOTION
  JOHN DOE dba YTS et. al.                       )
                                                 )
                         Defendants,             )
                                                 )
                                                 )

                        MEMORANDUM IN SUPPORT OF MOTION

 I.          BACKGROUND

             Plaintiff HB Productions, Inc. (hereafter: “Plaintiff”) is the owner of the

 copyright in the motion picture Hellboy [Docs. #1-2]. JOHN DOE dba YTS

 (Senthil Segaran and Techmodo Limited) is the entity that copied the motion

 picture, created the file “Hellboy (2019) [WEBRip] [1080p] [YTS.LT]” and

 initially seeded the torrent file for downloading the movie on the BitTorrent



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 network. The Defendants Does 1-19 are BitTorrent users whose computers are

 interconnected with others and used for illegally copying and distributing

 Plaintiff’s motion picture to others via the torrent file created by JOHN DOE dba

 YTS (Senthil Segaran and his company Techmodo Limited). Plaintiff is suing the

 Doe Defendants for using the Internet, specifically the BitTorrent file distribution

 network, to commit copyright infringement.

          As the Defendants anonymously used the Internet to commit infringement,

 Plaintiff only knew their Internet Protocol (“IP”) addresses and the time of the

 infringement at the time of filing the Complaint. [Doc. #1-1]. Based on pre-filing

 investigations, Defendants’ IP addresses were assigned by their Internet Service

 Provider (“ISP”), Charter Communications. In accordance with this Court’s order

 of August 19, 2019 [Doc. #12], Charter Communications notified their Internet

 Subscribers prior to disclosing the identification information to Plaintiff’s counsel

 to give them an opportunity to file any motions in this Court contesting the

 subpoena. Jessica Beltran (Doe 9) and Kenneth Evans (Doe 16) submitted

 objections to the subpoena, respectively, that were received by this Court on

 September 12 and September 20, 2019 [Docs. #16 and 19].

          By this motion, Plaintiff seeks an order dismissing the objection of Jessica

 Beltran (Doe 9) and Kenneth Evans (Doe 16) and compelling Charter



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 Communications to disclose the requested identification information of Jessica

 Beltran (Doe 9) and Kenneth Evans (Doe 16).

 II.      ARGUMENT

          A.    Jessica Beltran (Doe 9) and Kenneth Evans (Doe 16) have not

 asserted a legal basis for Quashing the Subpoena.

          This Court’s order gave the subscribers 30 days from the date of service to

 file any motions contesting the subpoena. [Doc. #12, pg. 7, ¶5]. The objection from

 Jessica Beltran (Doe 9) fails to assert any legal basis for quashing the subpoena

 beyond a naked objection. This Court has repeatedly rejected such naked

 objections. See UN4 Productions, Inc. v. Does 1-16, 1:17-cv-00448-RLP-NONE,

 Doc. #14 (“Although Doe 16 states that it objects to the release of its information,

 it does not provide any basis for its objection. Under Federal Rule of Civil

 Procedure 45(d)(3), the Court can only quash the subpoena if it seeks privileged

 information or subjects Doe 16 to undue burden. Because Doe 16 does not provide

 a basis for its objection, the objection is DENIED.”), Id. at Doc. # 26 (“In the

 objection, Doe No. 4 objects to the disclosure of the requested information, but

 does not provide any basis for its objection. Based on the information before the

 Court, there is no indication that the discovery requested by Plaintiff asks for

 privileged information or subjects Doe 4 to undue burden”).



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          Kenneth Evans (Doe 16) admits: “One or both of my children, ages 9 and 5,

 downloaded this movie for their personal use…” and further states: “I do not want

 my minor children involved with any court proceedings.” However, assuming that

 his 9 and 5 year old children are not the named subscriber, the subpoena requests

 his identification information (which he disclosed in his objection), not that of his

 minor children. Disclosure of his information does not constitute an undue burden

 because Rule 5.2 of the Federal Rules of Civil Procedure provides protection from

 revealing identification information of minors. Moreover, Plaintiff respectfully

 states that it possesses evidence that strongly refutes Kenneth Evans’s assertion

 that his minor children are responsible for the unauthorized copying of its motion

 pictures.

          B.    There is no undue burden or expense to Jessica Beltran (Doe 9) and

 Kenneth Evans (Doe 16) to comply with the Subpoena.

          Notwithstanding Jessica Beltran (Doe 9) and Kenneth Evans (Doe 16)

 failing to assert a legal basis for quashing the subpoena, Plaintiff respectfully

 asserts that the third party subpoena served on Charter Communications fully

 complies with Rule 45 of the Federal Rules of Civil Procedure.

          Rule 45(d)(1) requires an attorney responsible for issuing and serving a

 subpoena to take reasonable steps to avoid imposing undue burden or expense on a

 person subject to the subpoena. See Fed. R. Civ. P. 45(d)(1). Charter

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 Communications has not objected to the subpoena per Rule 45(d)(2)(B). There is

 no expense required of Jessica Beltran (Doe 9) and Kenneth Evans (Doe 16) to

 comply with the subpoena at issue. Further, Jessica Beltran (Doe 9) and Kenneth

 Evans (Doe 16) have not asserted a recognized undue burden.

          Rule 45(d)(3)(A)(iii) requires a court to quash or modify a subpoena that

 requires disclosure of privileged or other protected matter. See Fed. R. Civ. P.

 45(d)(3)(A)(iii). The subpoena does not require disclosure of privileged or other

 protected matter. It should be noted that Jessica Beltran (Doe 9) and Kenneth

 Evans (Doe 16) do not have a recognized privacy interest in his/her IP address. The

 Ninth Circuit has consistently held that a person has no legitimate expectation of

 privacy in information they voluntarily turn over to third parties. For example, in

 the Fourth Amendment context, in United States v. Forrester, the Ninth Circuit

 allowed the warrantless collection of email and IP address because email and IP

 addresses “constitute addressing information and do not necessarily reveal any

 more about the underlying contents of communication than do phone numbers.”

 See United States v. Forrester, 512 F.3d at 500, 510 (9th Cir. 2008).

 III.     CONCLUSION

          For the foregoing reasons, the Plaintiff requests that this Court issue an

 order dismissing the objection of Jessica Beltran (Doe 9) and Kenneth Evans (Doe

 16) and compelling Charter Communications to disclose the identification

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 information of Jessica Beltran (Doe 9) and Kenneth Evans (Doe 16) as requested in

 the Rule 45 subpoena in accordance with the order of August 19, 2019 [Doc. #12].

          DATED: Kailua-Kona, Hawaii, October 16, 2019.


                                CULPEPPER IP, LLLC


                                /s/ Kerry S. Culpepper
                                Kerry S. Culpepper

                                Attorney for Plaintiff
                                HB Productions, Inc.




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